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Office of the New York State                                                           Letitia James
Attorney General                                                                    Attorney General

Via ECF                                                           February 20, 2025
Hon. Vincent L. Briccetti
United States District Judge
Southern District of New York
300 Quarropas Street
White Plains, NY 10601
                            Re: Brooks v. Finnegan, 22 Cv. 6283 (VB)(JCM)
Dear Judge Briccetti:

       The Office of the Attorney General represents the Defendants in this action. As per the
Court’s December 12, 2024 Order (ECF No. 48), we write to update the Court on the status of
settlement in this action. To date, there have been no further developments regarding settlement,
with the parties too far apart for a further settlement conference to be appropriate.

       Thank you for your consideration.

                                              Respectfully submitted,

                                               /s/ Jeb Harben
                                              Jeb Harben
                                              Assistant Attorney General
                                              (212) 416-6185
                                              jeb.harben@ag.ny.gov

cc:    Joseph A. Brooks (by ECF)




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